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                             Page 2                                                               Page 4
                                      ·1· · · · · · · REPORTED FROM DALLAS COUNTY, TEXAS
                                      ·2· · · · · · · · · · P R O C E E D I N G S
                                      ·3
                                      ·4
                                      ·5· · · · · · · ·THE REPORTER:· WE ARE NOW ON THE RECORD.
                                      ·6· ·TODAY IS MARCH 31ST, 2023.· THE TIME IS NOW 9:14 A.M.
                                      ·7· ·CENTRAL STANDARD TIME.
                                      ·8· · · · · · · ·WE ARE HERE TO TAKE MR. FRANK PHILLIPS'S
                                      ·9· ·DEPOSITION IN THE MATTER LA UNIÓN DEL PUEBLO ENTERO, ET
                                      10· ·AL., PLAINTIFFS, VS. STATE OF TEXAS, ET AL., DEFENDANTS.
                                      11· · · · · · · ·WE ARE CURRENTLY LOCATED AT 2001 BEACH
                                      12· ·STREET, SUITE 700, FORT WORTH, TEXAS, 76103.
                                      13· · · · · · · ·AT THIS TIME, WILL COUNSEL STATE YOUR
                                      14· ·APPEARANCE FOR THE RECORD, PLEASE.
                                      15· · · · · · · ·MS. YUN:· JENNIFER YUN FROM THE DEPARTMENT
                                      16· ·OF JUSTICE.
                                      17· · · · · · · ·MS. HUNKER:· KATHLEEN HUNKER WITH THE OFFICE
                                      18· ·OF THE TEXAS ATTORNEY GENERAL REPRESENTING STATE
                                      19· ·DEFENDANTS AND INDIVIDUAL EX-LEADERS.
                                      20· · · · · · · ·MR. D'ANGELO:· WILLIAM D'ANGELO FROM
                                      21· ·ARENTFOX SCHIFF REPRESENTING -- CO-COUNSEL FOR THE
                                      22· ·PLAINTIFFS.
                                      23· · · · · · · ·THE REPORTER:· ANYBODY ELSE FROM ZOOM?
                                      24· · · · · · · ·MR. KENNY:· STEPHEN KENNY, JONES DAY,
                                      25· ·REPRESENTING THE INTERVENOR DEFENDANTS.


                             Page 3                                                               Page 5
                                      ·1· · · · · · · ·THE REPORTER:· THANK YOU.
                                      ·2· · · · · · · ·MR. FRANK PHILLIPS, IF YOU COULD PLEASE
                                      ·3· ·RAISE YOUR RIGHT HAND.
                                      ·4· · · · · · · ·THE WITNESS:· I DO.
                                      ·5· · · · · · · · · · · · FRANK PHILLIPS,
                                      ·6· · · · · HAVING BEEN FIRST DULY SWORN, WAS EXAMINED
                                      ·7· · · · · · · · · AND TESTIFIED AS FOLLOWS:
                                      ·8· · · · · · · · · · · · ·EXAMINATION
                                      ·9· ·BY MS. YUN:
                                      10· · · Q.· GOOD MORNING, MR. PHILLIPS.
                                      11· · · A.· GOOD MORNING.
                                      12· · · Q.· WE MET ALREADY, BUT I'M JENNIFER YUN FROM THE
                                      13· ·U.S. DEPARTMENT OF JUSTICE.
                                      14· · · A.· OKAY.
                                      15· · · Q.· THANK YOU FOR JOINING US THIS MORNING.
                                      16· · · A.· SURE.
                                      17· · · Q.· COULD YOU PLEASE STATE YOUR NAME FOR THE RECORD?
                                      18· · · A.· FRANK PHILLIPS.
                                      19· · · Q.· BEFORE WE DO ANYTHING ELSE, I WANT TO MAKE SURE
                                      20· ·WE HAVE A SMOOTH DEPOSITION.
                                      21· · · · · ARE YOU -- HAVE YOU EVER BEEN DEPOSED BEFORE?
                                      22· · · A.· I HAVE NOT.
                                      23· · · Q.· SO HERE'S SOME GROUND RULES TO HELP US THROUGHOUT
                                      24· ·THE DEPOSITION.· SO FIRST THIS WORKS BEST FOR THE COURT
                                      25· ·REPORTER IF YOU WAIT TO START YOUR ANSWER UNTIL I
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                                                               Page 6                                                                   Page 8
·1· ·COMPLETELY FINISH MY QUESTION.                                     ·1· · · · · DO YOU HAVE ANY QUESTIONS?
·2· · · · · IS THAT OKAY WITH YOU?                                      ·2· · · A.· NO, MA'AM.
·3· · · A.· SURE.                                                       ·3· · · Q.· I WILL START WITH SOME BASIC BACKGROUND
·4· · · Q.· AND THE COURT REPORTER CANNOT INDICATE ANY HEAD             ·4· ·QUESTIONS.
·5· ·NODS OR OTHER GESTURES OR UMMM, YOU KNOW, SOUNDS, SO --            ·5· · · · · WHERE DO YOU WORK?
·6· ·SO EVERY ANSWER NEEDS TO BE VERBAL.                                ·6· · · A.· I WORK FOR DENTON COUNTY AS THE DENTON COUNTY
·7· · · · · IS THAT OKAY WITH YOU?                                      ·7· ·ELECTIONS ADMINISTRATOR.
·8· · · A.· YES.                                                        ·8· · · Q.· COULD YOU EXPLAIN WHAT YOUR POSITION ENTAILS?
·9· · · Q.· ARE YOU BEING REPRESENTED BY AN ATTORNEY TODAY?             ·9· · · A.· YES.· THE GENERAL OVERSIGHT OF ALL OF THE
10· · · · · · · ·MS. HUNKER:· I'M REPRESENTING THE STATE                10· ·ELECTIONS IN DENTON COUNTY AND VOTER REGISTRATION IN
11· ·DEFENDANTS.· MR. PHILIPS DOES NOT HAVE A SPECIFIC                  11· ·GENERAL.
12· ·ATTORNEY WITH HIM TODAY.                                           12· · · Q.· WHO DO YOU REPORT TO?
13· · · A.· CORRECT.                                                    13· · · A.· THAT'S A LITTLE COMPLICATED IN TEXAS.· I AM HIRED
14· · · Q.· (BY MS. YUN)· OKAY.· MS. HUNKER MAY STILL OBJECT            14· ·BY AN ELECTION COMMISSION.· AND THEN IN MY DAY-TO-DAY
15· ·TO A QUESTION, AND AS WOULD -- AS CAN ANY OTHER                    15· ·ACTIVITY, I REPORT TO THE COUNTY JUDGE OF DENTON COUNTY.
16· ·ATTORNEYS ON THE -- ON ZOOM.· BUT YOU SHOULD STILL                 16· · · Q.· AND IS THE COUNTY COMMISSION -- THE ELECTIONS
17· ·ANSWER THE QUESTION UNLESS THERE'S ANY SPECIFIC                    17· ·COMMISSION, IS THAT A -- WHO MAKES UP THAT COMMISSION?
18· ·INSTRUCTION NOT TO.                                                18· · · A.· THE ELECTION COMMISSION IS MADE UP OF THE COUNTY
19· · · A.· OKAY.                                                       19· ·JUDGE, THE TAX ASSESSOR/COLLECTOR, COUNTY CLERK, THE
20· · · Q.· IF YOU DON'T UNDERSTAND A QUESTION OR NEED ANY              20· ·REPUBLICAN PARTY CHAIR OF DENTON COUNTY, AND THE
21· ·CLARIFICATION, COULD YOU PLEASE SAY SO?                            21· ·DEMOCRATIC PARTY CHAIR OF DENTON COUNTY.
22· · · A.· YES.                                                        22· · · Q.· HOW LONG HAVE YOU BEEN IN YOUR CURRENT POSITION?
23· · · Q.· ON THE OTHER HAND, IF YOU ASK -- ANSWER WITHOUT             23· · · A.· I INITIALLY BECAME THE ELECTION ADMINISTRATOR IN
24· ·ASKING FOR CLARIFICATION, I'LL ASSUME THAT YOU                     24· ·DENTON COUNTY IN 2009.· I LEFT IN 2014 AND BECAME THE
25· ·UNDERSTOOD MY QUESTION.                                            25· ·ELECTION ADMINISTRATOR IN TARRANT COUNTY.· AND THEN IN


                                                               Page 7                                                                   Page 9
·1· · · · · IS THAT FAIR?                                               ·1· ·2016, I LEFT AND CAME BACK TO DENTON COUNTY AND I'VE
·2· · · A.· YES.                                                        ·2· ·BEEN THERE SINCE.
·3· · · Q.· IS THERE ANY REASON YOUR MEMORY OR ABILITY TO               ·3· · · Q.· AND DID YOU HOLD ANY OTHER POSITION WITHIN THE
·4· ·ANSWER QUESTIONS WOULD BE IMPAIRED TODAY?                          ·4· ·DENTON COUNTY ELECTIONS OFFICE PRIOR TO 2009?
·5· · · A.· NO.                                                         ·5· · · A.· NO.
·6· · · Q.· IS THERE ANY REASON YOUR ABILITY TO EFFECTIVELY             ·6· · · Q.· WHAT DID YOU DO BEFORE YOU JOINED THE DENTON
·7· ·COMMUNICATE YOUR ANSWERS WILL BE IMPAIRED TODAY?                   ·7· ·COUNTY ELECTIONS OFFICE IN 2009?
·8· · · A.· NO.                                                         ·8· · · A.· I WAS THE DIRECTOR OF ADMINISTRATION FOR OUR
·9· · · Q.· HAVE YOU CONSUMED ANY PRESCRIPTION MEDICATION,              ·9· ·COUNTY JUDGE, AND I HAD BEEN IN THAT POSITION SINCE
10· ·DRUGS, ALCOHOL, OR SUFFERED ANY CONDITION OR INJURY THAT           10· ·2003.
11· ·MAY PREVENT YOU FROM TESTIFYING TRUTHFULLY AND                     11· · · Q.· AND DID THAT POSITION ENTAIL ANY ELECTION-RELATED
12· ·ACCURATELY TODAY?                                                  12· ·DUTIES?
13· · · A.· NO.                                                         13· · · A.· NOT DIRECTLY.· THE ONLY THING EVEN REMOTELY
14· · · Q.· I WANT TO REMIND YOU THAT YOU'RE UNDER OATH AND             14· ·CONNECTED WAS ANYTHING THAT WENT ON COMMISSIONERS COURT,
15· ·SUBJECT TO PENALTIES FOR GIVING FALSE OR MISLEADING                15· ·EVEN IF IT WAS THEIR AGENDA, EVEN IF IT WAS
16· ·TESTIMONY.· SO THAT -- SO IT'S IMPORTANT THAT YOU ANSWER           16· ·ELECTION-RELATED HAD TO GO THROUGH ME TO GET ON THE
17· ·MY QUESTIONS TRUTHFULLY AND ACCURATELY AND COMPLETELY.             17· ·AGENDA, AN ADMINISTRATIVE FUNCTION, SORRY.
18· · · · · IS THAT FAIR?                                               18· · · Q.· RIGHT.· SO EVERYTHING HAD TO GO THROUGH YOU IN
19· · · A.· YES.                                                        19· ·ORDER TO GET ON THAT AGENDA.
20· · · Q.· AND FINALLY, IF YOU NEED A BREAK, JUST LET ME               20· · · A.· CORRECT.
21· ·KNOW AND WE CAN TAKE ONE.· HOWEVER, I WILL ASK THAT YOU            21· · · Q.· INCLUDING ELECTION-RELATED FUNCTIONS.
22· ·ANSWER ANY PENDING QUESTION BEFORE WE TAKE A BREAK.                22· · · A.· CORRECT.
23· · · · · IS THAT OKAY?                                               23· · · Q.· AND WHAT DID YOU DO BEFORE 2003?
24· · · A.· YES.                                                        24· · · A.· I WAS -- IMMEDIATELY BEFORE THAT, I WAS -- HAD A
25· · · Q.· GREAT.                                                      25· ·CONTRACT POSITION THROUGH THE STATE DEPARTMENT WITH
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                                                                Page 46                                                                  Page 48
·1· · · Q.· -- PRIMARY TAB.· SO -- AND FOR DENTON IT'S                    ·1· ·ELECTION COMPARED TO OTHER SIMILARLY SITUATED ELECTIONS?
·2· ·SHOWING 10.91 PERCENT.                                               ·2· · · A.· I BELIEVE MAIL BALLOTS HAVE INCREASED SINCE -- I
·3· · · A.· THAT SOUNDS CORRECT.                                          ·3· ·MEAN, THEY'VE STEADILY INCREASED OVER THE YEARS SINCE
·4· · · Q.· OKAY.· AND DID YOU HEAR FROM VOTERS ABOUT THE ID              ·4· ·LIVE ELECTION.
·5· ·NUMBER REQUIREMENT IN -- DURING THAT MARCH 2022 PRIMARY              ·5· · · Q.· OKAY.· SO IT IS YOUR RECOLLECTION OR TESTIMONY
·6· ·SEASON?                                                              ·6· ·THAT SINCE 2018, THE NUMBER HAS -- THE NUMBER OF MAIL
·7· · · A.· WE DID, YES.                                                  ·7· ·BALLOTS HAS INCREASED COMPARED TO 2022?
·8· · · Q.· AND WHAT DID YOU HEAR?                                        ·8· · · A.· I BELIEVE THAT'S THE CASE.
·9· · · A.· MOST -- WELL, I GUESS -- IT WAS A COMBINATION OF              ·9· · · Q.· SO I'M GOING TO ASK A SERIES OF QUESTIONS ABOUT
10· ·THINGS.· MOST -- WELL, THE ONES WE HEARD FROM WERE THE               10· ·ANY SPECIFIC ISSUES WITH THE ID NUMBER REQUIREMENTS THAT
11· ·ONES THAT WEREN'T HAPPY ABOUT IT.· THEY EITHER HAD AN                11· ·VOTERS MAY HAVE HAD IN 2022.
12· ·APPLICATION REJECTED OR HAD A CARRIER ENVELOPE THAT CAME             12· · · · · SO DID ANY DENTON COUNTY VOTERS HAVE ISSUES OF
13· ·IN AND IT HAD TO BE CURED.· AND THEY JUST WEREN'T HAPPY              13· ·FORGETTING TO PUT ANY ID NUMBER ON THEIR MAIL BALLOT
14· ·THAT THEY GOT REJECTED OR HAD TO CURE IT FOR WHATEVER                14· ·MATERIALS?
15· ·THE REASON WAS.· I MEAN, THAT'S THE GENERAL NATURE OF                15· · · A.· YES.
16· ·IT.                                                                  16· · · Q.· PROVIDING THE VU ID INSTEAD OF A STATE ID NUMBER
17· · · Q.· AND LET'S TALK ABOUT THE NOVEMBER 2022 GENERAL                17· ·OR THE LAST FOUR DIGITS OF THEIR SOCIAL?
18· ·ELECTION.                                                            18· · · A.· YES.
19· · · A.· OKAY.                                                         19· · · Q.· PROVIDING AN ID NUMBER THAT IS NOT ASSOCIATED
20· · · Q.· HOW DID THE ID NUMBER REQUIREMENT AFFECT YOUR                 20· ·WITH THEIR VOTER REGISTRATION RECORD?
21· ·OFFICE?                                                              21· · · A.· YES.
22· · · A.· NOT NEARLY LIKE IT INITIALLY DID.· I MEAN, PEOPLE             22· · · Q.· DID YOUR OFFICE EVER ENCOUNTER ANY VOTERS WHO --
23· ·HAD BECOME -- VOTERS HAD BECOME USED TO IT.· IT WAS KIND             23· ·WITH NO ID NUMBER IN THEIR VOTER REGISTRATION RECORD?
24· ·OF NORMAL NOW.· OUR EARLY VOTING BALLOT BOARD, THE                   24· · · A.· I -- I'M NOT SURE THE ANSWER TO THAT.· I'D BE A
25· ·PROCESS HAD BECOME NORMAL.· SO NOT -- NOWHERE NEAR THE               25· ·LITTLE SURPRISED IF WE DID.· I MEAN, WE HAVE TO HAVE ONE


                                                                Page 47                                                                  Page 49
·1· ·LEVEL THAT IT HIT INITIALLY.                                         ·1· ·OR THE OTHER.· SO...
·2· · · Q.· WOULD YOU SAY THAT -- IN YOUR EXPERIENCE, THAT                ·2· · · Q.· OKAY.
·3· ·THE NOVEMBER GENERAL ELECTION GENERALLY HAS A MUCH                   ·3· · · A.· YOU'RE TALKING ABOUT IN THE VOTER REGISTRATION
·4· ·HIGHER TURNOUT THAN THE MARCH PRIMARY?                               ·4· ·RECORD.
·5· · · A.· OH, ABSOLUTELY, YES.                                          ·5· · · Q.· CORRECT.
·6· · · Q.· SO THERE WEREN'T A LOT OF VOTERS WHO VOTED BY                 ·6· · · A.· YES.
·7· ·MAIL FOR THE FIRST TIME SINCE SB 1 WENT INTO EFFECT?                 ·7· · · Q.· YEAH.· OKAY.· DID YOUR OFFICE ENCOUNTER ANY TYPOS
·8· · · A.· THAT'S CORRECT.                                               ·8· ·IN THE REGISTRATION RECORD?
·9· · · Q.· AND HOW DID THAT PLAY OUT IN TERMS OF THE MAIL                ·9· · · A.· TYPOS ON THE COUNTY'S PART OR --
10· ·BALLOT REQUIREMENTS FOR ID NUMBERS?                                  10· · · Q.· THE REGISTRATION RECORD REFLECTED, SAY, ONE DIGIT
11· · · A.· I -- I DON'T HAVE EXACT FIGURES MAINLY BECAUSE                11· ·THAT WAS NOT CORRECT, IT TURNED OUT --
12· ·WE'VE -- IN THE PAST, WE'VE NEVER REALLY TRACKED THOSE               12· · · A.· YES.· YES.
13· ·RATES.· BUT THEY -- IT'S PROBABLY SLIGHTLY HIGHER THAN               13· · · Q.· ANY INSTANCES WHERE VOTERS MISWROTE OR MISPRINTED
14· ·IT WAS BEFORE SB 1.· BUT IF IT IS, IT'S NOT MUCH.· IT'S              14· ·ID NUMBERS ON THEIR ABBMS OR CARRIER ENVELOPES?
15· ·VIRTUALLY BACK TO WHAT I WOULD SAY IS NORMAL.                        15· · · A.· YES.
16· · · Q.· AND WHEN YOU SAY YOU GENERALLY HAVE NOT TRACKED               16· · · Q.· WHAT TYPES OF OTHER ID NUMBER-RELATED ISSUES DID
17· ·THOSE NUMBERS, YOU MEAN THE REJECTION RATES.                         17· ·YOUR OFFICE ENCOUNTER, TO THE EXTENT THAT YOU REMEMBER?
18· · · A.· CORRECT.                                                      18· · · A.· YEAH, I THINK YOU PRETTY MUCH COVERED THEM THERE.
19· · · Q.· DO YOU -- DOES YOUR OFFICE OR DO YOU KNOW -- DOES             19· · · Q.· OKAY.
20· ·YOUR OFFICE -- STRIKE THAT.                                          20· · · · · · · ·MS. YUN:· I THINK WE MIGHT BE AT A GOOD
21· · · · · DOES YOUR OFFICE KEEP TRACK OF THE VOLUME OF                  21· ·PLACE TO TAKE A SHORT BREAK, IF THAT'S OKAY WITH YOU.
22· ·MAIL-IN BALLOTS FOR EACH ELECTION?                                   22· · · · · · · ·THE REPORTER:· THE TIME IS 10:34.· WE ARE
23· · · A.· YES.                                                          23· ·OFF THE RECORD.
24· · · Q.· DO YOU KNOW WHETHER MAIL VOTING HAS INCREASED,                24· · · · · · · ·(OFF THE RECORD.)
25· ·DECREASED, STAYED ABOUT THE SAME FOR THE NOVEMBER 2022               25· · · · · · · ·THE REPORTER:· THE TIME IS NOW 10:45 A.M.
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·1· ·THE -- OF THE NEED TO IMPLEMENT THE ID REQUIREMENTS?                 ·1· · · Q.· OKAY.
·2· · · A.· OKAY.· OKAY.· THAT HELPS ME AND THAT JOGS MY                  ·2· · · A.· BUT I KNOW WE HAD -- THEY HAD TO HAVE AN EXTRA
·3· ·MEMORY.                                                              ·3· ·PERSON BECAUSE THE CURE PROCESS BROUGHT ABOUT NEW FORMS.
·4· · · Q.· OKAY.                                                         ·4· · · Q.· UH-HUH.
·5· · · A.· OKAY.· FORGET THOSE FOUR OR FIVE, BECAUSE THEY                ·5· · · A.· YOU KNOW?
·6· ·WERE REALLY ABOUT STUFFING ENVELOPES.· I DO RECALL                   ·6· · · Q.· RIGHT.
·7· ·THAT -- WE NORMALLY HAVE, MY FULL-TIME EMPLOYEE, AND WE              ·7·· · · A.· WE HAD TO NOW TRACK -- YOU'D HAVE TO SEPARATE
·8· ·HAVE, I CALL HER OUR PERMANENT TEMP, 'CAUSE SHE COMES                ·8· ·YOUR BALLOTS.· YOU'D HAVE TO KEEP THEM SEPARATED BY
·9· ·BACK EVERY ELECTION.                                                 ·9· ·WHAT'S CURABLE, WHAT ISN'T, WHAT'S GOOD GOING THROUGH
10· · · Q.· OKAY.                                                         10· ·THE PROCESS.· AND SO THEY DEDICATED A PERSON THAT TRACKS
11· · · A.· HELPS WITH OUR MAIL BALLOT PROCESS.                           11· ·THOSE ON A SPREADSHEET WE CREATED.
12· · · Q.· GOT IT.                                                       12· · · Q.· OKAY.
13· · · A.· AND SHE DID END UP HAVING TO GET A COUPLE OF                  13· · · A.· SO I KNOW AT A MINIMUM IT'S CAUSED AN EXTRA
14· ·EXTRA TEMPS TO HELP HER --                                           14· ·PERSON.
15· · · Q.· UH-HUH.                                                       15· · · Q.· RIGHT.
16· · · A.· -- JUST BECAUSE -- REALLY BECAUSE OF OUR INITIAL              16· · · A.· BUT I JUST HAVE A HARD TIME SAYING THAT, YEAH,
17· ·REJECTION RATES.                                                     17· ·THEY HIRED THREE EXTRA --
18· · · Q.· UH-HUH.                                                       18· · · Q.· RIGHT.
19· · · A.· SO I THINK IT WOULD BE FAIR TO SAY THAT WE NEEDED             19· · · A.· -- BECAUSE OF ANYTHING OUT OF SB 1.· BUT I KNOW
20· ·A COUPLE OF EXTRA PEOPLE AT FIRST, BUT THAT KIND OF                  20· ·THERE'S AT LEAST ONE.
21· ·GRADUALLY WENT AWAY WHERE WE DIDN'T NEED THEM --                     21· · · Q.· AND THAT WAS STARTING WITH THE MARCH PRIMARY?
22· · · Q.· OKAY.                                                         22· · · A.· YES.
23· · · A.· -- AS OUR REJECTION RATE FELL.                                23· · · Q.· SO IT WOULD BE FAIR TO SAY THAT PROCESSING ABBMS
24· · · Q.· OKAY.· AND THIS IS DURING THE PERIOD LEADING UP               24· ·AND CURE ENVELOPES TOOK LONGER WHEN -- AFTER SB 1 WAS
25· ·TO THE MARCH 2022 ELECTION?                                          25· ·IMPLEMENTED DUE TO THOSE NEW REQUIREMENTS?


                                                                Page 75                                                                 Page 77
·1· · · A.· THAT'S CORRECT.                                               ·1· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.
·2· · · Q.· OKAY.· AND WHAT ABOUT FOR THE GENERAL ELECTION?               ·2· · · A.· IT DID TAKE LONGER, YES.
·3· ·DID YOU HIRE -- DID YOU HIRE THOSE COUPLE OF EXTRA                   ·3· · · Q.· (BY MS. YUN)· AND THAT PERSON WHO WAS KEEPING
·4· ·TEMPORARY EMPLOYEES?                                                 ·4· ·TRACK OF THE MAIL BALLOT MATERIALS GOING THROUGH THE
·5· · · A.· I CAN'T HONESTLY SAY WE HIRED THEM BECAUSE OF                 ·5· ·PROCESS ON A SPREADSHEET, DID THAT PERSON COME WITH THE
·6· ·SB 1, BECAUSE WE WOULD HAVE HIRED A LOT OF PEOPLE FOR                ·6· ·NOVEMBER GENERAL ELECTION?
·7· ·THE GENERAL ANYWAY.                                                  ·7· · · A.· YES.· YES, SHE DID.
·8· · · Q.· I SEE.                                                        ·8· · · Q.· AND DID YOUR OFFICE'S STAFFING NEEDS FOR MAIL
·9· · · A.· SO I CAN'T IDENTIFY PEOPLE THAT I HIRED BECAUSE               ·9· ·BALLOT PROCESSING IN THE NOVEMBER ELECTION DIFFER FROM
10· ·OF SB 1 IN THE GENERAL ELECTION.                                     10· ·ELECTION -- SIMILAR PAST ELECTIONS?
11· · · Q.· OKAY.· SO IN TERMS OF CALLING OR E-MAILING FOLKS              11· · · A.· TO SOME DEGREE, YES.
12· ·IN ORDER TO NOTIFY THEM OF THEIR DEFECTS, THEIR ID                   12· · · Q.· UH-HUH.
13· ·NUMBER DEFECTS, SO THAT WAS BEING HANDLED BY FOLKS WHO               13· · · A.· BUT I CAN'T SAY THAT'S ALL CONTRIBUTABLE TO
14· ·WERE THERE TO PROCESS MAIL BALLOTS GENERALLY.· THEY WERE             14· ·SB 1 --
15· ·NOT HIRED JUST FOR THAT PURPOSE.                                     15· · · Q.· UH-HUH.
16· · · · · IS THAT A FAIR STATEMENT?                                     16· · · A.· -- BECAUSE DENTON COUNTY IS ONE OF THE
17· · · A.· PRIMARY OR GENERAL OR BOTH OR EITHER?                         17· ·FASTEST-GROWING COUNTIES IN THE STATE OF TEXAS.
18· · · Q.· LET'S DO THE PRIMARY FIRST, AND THEN GENERAL.                 18· · · Q.· UH-HUH.
19· · · A.· OKAY.· SO I DO KNOW -- LET ME THINK ABOUT IT JUST             19· · · A.· I MEAN, WE HAD -- FROM 2018 TO 2022, WE HAD
20· ·A SECOND.                                                            20· ·ALMOST AN EXTRA 100,000 REGISTERED VOTERS.
21· · · Q.· SURE.· TAKE YOUR TIME.                                        21· · · Q.· YEAH.
22· · · A.· AND THE REASON I'M HESITATING ON THE ANSWER, I DO             22· · · A.· THAT'S SIGNIFICANT.· THAT TAKES A LOT OF EXTRA
23· ·KNOW FROM OUR LAST ELECTION IN 2018 COMPARED TO 2022,                23· ·WORK, EXTRA TIME.· SO WHILE THE DIRECT ANSWER TO YOUR
24· ·OUR EARLY VOTE BALLOT BOARD COSTS INCREASED                          24· ·QUESTION MAY BE YES, THAT DOESN'T MEAN IT'S
25· ·SIGNIFICANTLY.· I MEAN, FROM, I'M GUESSING, 25 PERCENT.              25· ·CONTRIBUTABLE TO SB 1.
